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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                              CRIMINAL ACTION

                v.                                                    N0.18-193

DKYLE JAMAL BRIDGES, et al.
         Defendants

                                                ORDER

      AND NOW, this 19th day of February 2019, upon consideration of Defendant Dkyle Jamal

Bridges' motion to compel grand jury transcripts pursuant to Fed. Fr. Crim. P. 6(e)(3)(E)(ii),

(Doc. 143), the Government response thereto, (Doc. 147), and the oral argument heard on

February 15, 2019, it hereby ORDERED that Defendant's motion is GRANTED, in part.

Accordingly, the Government will produce the grand jury testimony of witnesses the Government

plans to call at trial as follows: if the specific transcript( s) of any such testimony is 100 pages or

less in length, the transcript(s) shall be produced to Defendants at least three days prior to trial; if

the transcript(s) of such testimony is in excess of 100 pages in length, the transcript(s) shall be

produced to Defendant at least five days prior to trial. 1



                                                BY THE COURT:


                                                Isl Nitza I Quinones Alejandro
                                                NITZA I. QUINONES ALEJANDRO
                                                Judge, United States District Court




      In the interest of judicial economy, this Order shall apply to all Defendants in this matter.
